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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,
                                                            Hon. Phillip J. Green
 v.
                                                            Case No. 1:17-mj-000370
 Thomas Lee Cowley,

       Defendant.
 ________________________________/

                            ORDER OF DETENTION

      This matter is before the Court on the government’s motion for pretrial

detention. Defendant has been charged in a Criminal Complaint with conspiracy to

distribute and to possess with intent to distribute 50 grams or more of

methamphetamine, in violation of 21 U.S.C. §§ 846; 841(a)(1); and 841(b)(1)(A)(viii).

Given the nature of the charge, there is a statutory rebuttable presumption in favor

of detention.

      The government sought defendant’s detention on the basis the he is a danger

to the community, 18 U.S.C. § 1342(f)(1), and that he poses a significant risk of

flight, 18 U.S.C. § 3142(f)(2)(A). The Court conducted a hearing on December 6,

2017, at which defendant was represented by counsel.

      Having considered the information presented at the hearing, the parties’ oral

submissions, and the information in the Pretrial Services Report, and for the reasons

stated on the record, the Court finds that defendant has rebutted the presumption of
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detention regarding risk of flight, but has not rebutted the presumption of detention

as to danger to the community. The Court also finds, as explained on the record, that

the government has sustained its burden of proving, by preponderant evidence, that

defendant poses a significant risk of flight and, by clear and convincing evidence, that

he poses a danger to the community. Further, the Court finds that there is no

condition or combination of conditions of release that will ensure the safety of the

community or the appearance of the defendant. Accordingly,

      IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending trial.

      DONE AND ORDERED on December 6, 2017.




                                                /s/ Phillip J. Green
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge




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